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                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DARUS LEON HUNTER

            V.                                                          NO. 18-348

UNIVERSITY OF PENNSYLVANIA

                                            CONFERENCE ORDER

       AND NOW, this 5th day of March, 2018, IT IS ORDERED that a settlement
conference in the above-captioned matter shall be held before the undersigned on MONDAY,
APRIL 23, 2018, at 10:00 a.m., in Courtroom SB, Fifth Floor, United States Courthouse, 601
Market St., Phialdelphia, PA 19106.

                  The conference will not be held unless counsel has clients with full and
                  complete settlement authority physically present for the duration of the
                  conference. FULL AND COMPLETE AUTHORITY MEANS THE
                  PARTY'S REPRESENTATIVE MUST POSSESS AUTHORIT
                                                                                1
                  CONSISTENT WITH THE MOST RECENT DEMAND.

       Please complete the attached summary and fax it to Chambers (215)580-2163, on or
before MONDAY, APRIL 16, 2018. Unless otherwise requested, summaries may be shared
with opposing counsel.

         If Counsel chooses to submit a confidential position paper for the Court's consideration,
it shall be no longer than 2 pages, and shall be faxed directly to Chambers (fax. no. 215-580-
2163) on or before MONDAY, APRIL 16, 2018. The position paper should address the
party's settlement position, as well as any other issue that counsel believes will be of assistance
to the Court in helping the parties resolve this matter. THIS DOCUMENT IS NOT TO BE
SHARED WITH OPPOSING COUNSEL NOR FILED OF RECORD. THIS IS FOR
JUDGE HART'S EYES ONLY.

                                             BY THE COURT:




          Parties include all persons, corporations or other bu    ss entities, and insurance companies with an
interest in the case, and each entity with an interst in the case must attend the conference. In the case nf
corporate or other business entities, the corporate official with ultimate settlement authority is required to attend.
Where an insurance company is involved, a representative with full and complete settlement authority is also
required to attend.
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                     SETTLEMENT CONFERENCE SUMMARY


CAPTION:____________________________________________________________________

DISTRICT COURT JUDGE_____________________________________                  JURY/NON-JURY
                                                                              (Circle One)

COUNSEL ATTENDING SETTLEMENT CONFERENCE:

Name:________________________________________________________________________

Address:______________________________________________________________________

Phone:________________________________________________________________________

Client:________________________________________________________________________


CLIENT ATTENDING SETTLEMENT CONFERENCE:

       Name of Individual with Ultimate Settlement Authority who will be present at the
settlement conference (include company and position where applicable):

______________________________________________________________________________
______________________________________________________________________________

MOTIONS PENDING:

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


OTHER RELEVANT MATTERS:

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

PRIOR OFFERS/DEMANDS:

______________________________________________________________________________

______________________________________________________________________________
